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                                                    State of New Jersey
                                               OFFICE OF THE ATTORNEY GENERAL
PHILIP D. MURPHY                            DEPARTMENT OF LAW AND PUBLIC SAFETY                                     MATTHEW J. PLATKIN
    Governor                                   OFFICE OF THE SOLICITOR GENERAL                                        Attorney General
                                                         PO BOX 080
TAHESHA L. WAY                                       TRENTON, NJ 08625                                             JEREMY M. FEIGENBAUM
  Lt. Governor                                                                                                         Solicitor General




                                                                                                                   June 30, 2025
      Hon. Leo T. Sorokin
      U.S. District Court, District of Massachusetts
      John Joseph Moakley U.S. Courthouse
      1 Courthouse Way, Suite 2300
      Boston, Massachusetts 02210

                 Re:   State of New Jersey et al. v. Trump et al., Case No. 1:25-cv-10139

      Judge Sorokin:

              We write to update this Court regarding the Supreme Court’s decision in this case on
      Friday, and to propose next steps in this litigation.

              Although the Court held that universal injunctions likely exceed the statutory authority of
      the federal courts because they are impermissibly designed to protect nonparties, the Court added
      that nationwide orders can be appropriate to “award[] complete relief” to the parties themselves.
      See Trump v. CASA, Inc., Slip Op. 15-19. On that score, the Court recognized that the injunction
      that “the District Court for the District of Massachusetts” had already issued “does not purport to
      directly benefit nonparties”—and so did not run afoul of this principle—and instead reflected this
      Court’s “deci[sion] that a universal injunction was necessary to provide the States themselves with
      complete relief.” Slip Op. 17-18. The Court recognized the United States offered certain alternative
      forms of relief—never raised below—for remedying the States’ injuries, but “decline[d] to take up
      these arguments in the first instance,” leaving the debate to “[t]he lower courts.” Slip Op. 19; see
      also Slip Op. 33-37 (Sotomayor, J., dissenting) (emphasizing that “the majority leaves open the
      possibility that the District Courts, in these cases, could have granted at least respondent States a
      nationwide injunction consistent with the notion of ‘complete relief’”). The majority thus granted
      the Federal Government’s application “only to the extent that the injunctions are broader than
      necessary to provide complete relief to each plaintiff with standing to sue.” 1 Slip Op. 26.



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         Because the Supreme Court did not reach the question whether the States have standing to sue, Slip Op. 2
       n.2, it does not disturb this Court’s and the First Circuit’s prior findings that they do.




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        In light of the 30-day period the Supreme Court set before the Executive Order could take
effect anywhere, the States propose an expeditious schedule to evaluate whether alternative forms
of relief proposed by the United States would in fact completely remedy their injuries, or whether
a nationwide order is warranted—as the States consistently maintained, and this Court previously
found—to remedy their harms:

       •   7/8: Deadline for United States to submit briefing and declarations on alternative forms
           of relief for remedying the States’ injuries.

       •   7/15: Deadline for the States to submit briefing and declarations in response.

       •   7/17 or 7/18: Hearing and/or oral argument.

Counsel for the United States indicated that they oppose our proposal and will follow up in writing
to the Court. The States would welcome a prompt conference with this Court.

                                               Respectfully yours,


                                               MATTHEW J. PLATKIN
                                               ATTORNEY GENERAL OF NEW JERSEY

                                         By:    /s/ Viviana M. Hanley

                                               Viviana M. Hanley
                                               Deputy Attorney General




cc:
Anastasia Dubrovsky, Clerk
U.S. Court of Appeals, First Circuit
John Joseph Moakley U.S. Courthouse
1 Courthouse Way, Suite 2500
Boston, MA 02210
